Case 2:20-cv-03662-JHS Document 2 Filed 08/18/20 Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Pennsylvania

RESURGENT CAPITAL SERVICES L.P.

)

TIMOTHY CHANDLEE
)

)

Plaintiff(s) Civil ActionNo. 20-3662

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Defendant(s)

SUMMONS IN A CIVIL ACTION

40: Pefendant’s nameand address) RESURGENT CAPITAL SERVICES L.P. c/o
Corporation Service Company
2595 Interstate Drive, Suite 103
Harrisburg, PA 17110

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

ROBERT P. COCCO

LAW OFFICES OF ROBERT P. COCCO PC
1500 WALNUT ST., STE 900
PHILADELPHIA, PA 19102

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

QLERK OF COURT

Date: 8/6/20 eMincent 9. tia

Signature of Clerk or Deputy Clerk

Case 2:20-cv-03662-JHS Document 2 Filed 08/18/20 Page 2 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 20-3662

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

RESURGENT CAPITAL SERVICES LP

This summons for (name of individual and title, if any)

was received by me on (date) 8/6/20

Date:

[-] I personally served the summons on the individual at (place)

on (date) 5 or

[_] I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

K] I served the summons on (name of individual) Corporation Service Co. , who is
designated by law to accept service of process on behalf of (name of organization)

RESURGENT CAPITAL SERVICES LP on (date) 8/13/20 sor

[_] I returned the summons unexecuted because 3 or

C] Other (specify):

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

8/18/20 /s/Robert P. Cocco

Server's signature

Robert P. Cocco, Esq
Printed name and title

1500 Walnut St., Ste. 900
Phila., PA 19102

Server’s address

Additional information regarding attempted service, etc:
Case 2:20-cv-03662-JHS Document 2 Filed 08/18/20 Page 3 of 3

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tS} SI NB) Ss Wier 0), 2) =i =i a | bSesy = Oy WL O)\\]

@ Complete items 1, 2, and 3.
B® Print your name and address on the reverse

CI Agent

so that we can return the card to you. : O Adee
™ Attach this card to the back of the mailpiece, B. Received by (Printed Name) C. ¥ of Delivery
or on the front if space permits.

1. Article Addressed to: D. Is delivery address different from item 1? [I Yes

Kas wrzat Coputal Toc? fo P if YES, enter delivery address below: [J No
Clo CSC os
UIT Whether Br, #163

[ferry bug PH 17110

UA AMT AITT vm b nn Soe ores al
O Adult Signature O Registered Mail™
O Adult Signature Restricted Delivery O Registered Mail Restricted
Certified Mail® Delivery
9590 9402 3706 7335 2997 30 iG Game Mail Restricted Delivery Return Receipt for
C1 Collect on Delivery Merchandise
2. Article Number (Transfer from service label) 1 Collect on Delivery Restricted Delivery Signature Confirmation™

D Signature Confirmation

L 7019 1640 OO001 4bb? O34e al Restricted Delivery ens
. PS Form 3811, July 2015 PSN 7530-02-000-9053 Domestic Return Receipt :

